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EXHIBIT 10
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                                       Arizona Senate hires auditor         Filed
                                                                    review 2020     06/03/21
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                         Arizona Senate hires auditor to review 2020 election in
                         Maricopa County
                         Wednesday, March 31, 2021
                         FOR IMMEDIATE RELEASE




                          Arizona Senate hires auditor to review 2020 election in
                                             Maricopa County

                         (Phoenix, State Capitol) --- Arizona Senate leadership today announced it has hired a
                         team of independent auditors to complete a comprehensive, full forensic audit of the
                         2020 election in Maricopa County, including a hand recount of all ballots.

                         After months of interviewing various forensic auditors, the Arizona Senate has found a
                         qualiﬁed team consisting of Wake Technology Services, Inc., CyFIR, LLC, Digital Discovery,
                         and Cyber Ninjas, Inc. to conduct the audit.
                                                                                                                                Let's Chat!

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                         The team will be led by Cyber Ninjas, a cyber security company with a focus on
                         application security, working across ﬁnancial services and government sectors.

                         CyFIR is a digital security and forensics company specializing in enterprise incident
                         response, computer forensics and expert witness support to litigation. Notable past
                         engagements include the discovery of the Oﬃce of Personnel Management Breach in
                         2015 and forensic support to the largest individual bank fraud in the history of the IMF.
                         As specialists supporting the highest levels of government and private industry, they are
                         extremely familiar with responding to nation-state cyber activity, including Advanced
                         Persistent Threats (APT).


                         Members of the Wake Technology Services group have performed hand-count audits in
                         Fulton County, PA and in New Mexico as part of the 2020 General Election cycle. In
                         addition, team members have been involved in investigating election fraud issues,
                         dating back to 1994. In that 1994 case, this team member worked closely with the FBI
                         during the investigation. Wake Technology Services team members also include
                         intelligence analysts and fraud investigators from a variety of industries.


                         The audit will validate every area of the voting process to ensure the integrity of the
                         vote. The scope of work will include, but is not limited to, scanning all the ballots, a full
                         manual recount, auditing the registration and votes cast, the vote counts, and the
                         electronic voting system. At the conclusion of the audit, the auditor will issue a report
                         detailing all ﬁndings discovered during the assessment.


                         Senate leadership expects this audit to be done in a transparent manner with the
                         cooperation of Maricopa County. "Our people need to be assured that the Senate and
                         Maricopa County can work together on this audit, to bring integrity to the election
                         process," said Senate President Karen Fann. "As Board Chair Sellers and County
                         Recorder Richer wrote in the Arizona Republic
                          'a democracy cannot survive if its people do not believe elections are free and fair.' They
                         also acknowledge a signiﬁcant number of voters want the additional assurance that a
                         full forensic audit might bring. I look forward to continued cooperation."


                         Because it is an independent audit, leadership will not be directly involved, and
                         members do not expect to comment on any of the processes of the audit until the
                         report is issued in about 60 days.




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